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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 AMERICAN PATENTS LLC,
                                                      CIVIL ACTION NO. 4:18-cv-697
      Plaintiff,
                                                      ORIGINAL COMPLAINT FOR
          v.                                          PATENT INFRINGEMENT

 ACER INC.,                                           JURY TRIAL DEMANDED


      Defendant.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff American Patents LLC (“American Patents” or “Plaintiff”) files this original

complaint against Defendant Acer Inc. (“Acer”), alleging, based on its own knowledge as to

itself and its own actions and based on information and belief as to all other matters, as follows:

                                            PARTIES

       1.      American Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 2325 Oak Alley, Tyler, Texas, 75703.

       2.      Acer Inc. is a corporation duly organized and existing under the laws of Taiwan,

with a place of business located at 1F, 88, Sec. 1, Xintai 5th Road, Xizhi, New Taipei City 221,

Taiwan.

                                JURISDICTION AND VENUE

       3.      This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

       4.      This Court has personal jurisdiction over Acer pursuant to due process and/or the

Texas Long Arm Statute because, inter alia, (i) Acer has done and continues to do business in
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Texas; and (ii) Acer has committed and continues to commit acts of patent infringement in the

State of Texas, including making, using, offering to sell, and/or selling accused products in

Texas, and/or importing accused products into Texas, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing a least a portion of any other infringements alleged herein. In addition, or in

the alternative, this Court has personal jurisdiction over Acer pursuant to Fed. R. Civ. P. 4(k)(2).

       5.      Venue is proper as to Defendant Acer Inc., which is organized under the laws of

Taiwan. 28 U.S.C. § 1391(c)(3) provides that “a defendant not resident in the United States may

be sued in any judicial district, and the joinder of such a defendant shall be disregarded in

determining where the action may be brought with respect to other defendants.”

                                         BACKGROUND

       6.      The patents-in-suit generally pertain to communications networks and other

technology used in “smart” devices such as smartphones. The technology disclosed by the

patents was developed by personnel at AT&T Mobility, Georgia Institute of Technology, and

Sun Microsystems.

       7.      AT&T Mobility is the second largest provider of wireless services in the United

States. AT&T Mobility and its parent company, AT&T Inc. have a rich history of invention and

innovation. These companies can trace their roots back to the invention of the first telephone by

Alexander Graham Bell in the 1870’s. Since the time of Alexander Bell, AT&T (or Ma Bell as it

was once called) has been a leader in the field of communications. In the 1890’s AT&T built the

first long distance telephone network in the United States. AT&T was instrumental throughout

the 1900’s in developing and innovating telephone networks. In the early 1980’s, an AT&T

company created the first cellular network in the United States. In the 1990s and 2000s, AT&T



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was at the forefront of the wireless revolution. In 2007 as part of a partnership with Apple,

AT&T exclusively sold the original iPhone to its customers.

       8.      Georgia Institute of Technology (“Georgia Tech”) is a leading public research

university located in Atlanta, Georgia. Founded in 1885, Georgia Tech is often ranked as one of

the top ten public universities in the United States. Three of the patents-in-suit were developed

by a professor and a graduate student in Georgia Tech’s Electrical and Computer Engineering

department. This undergraduate and graduate programs of this department are often ranked in the

top five of their respective categories.

       9.      Sun Microsystems (“Sun”) was founded in 1982 and was a major contributor to

the evolution of computing and networking technologies. Sun developed both hardware and

software for its own servers and computer workstations. As part of this development, Sun created

many key technologies that are still in use today. For example, the widely used Java platform

was developed by Sun. Sun was acquired by Oracle Corporation around 2010.

                                            COUNT I

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,088,782

       10.     On August 8, 2006, United States Patent No. 7,088,782 (“the ‘782 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       11.     American Patents is the owner of the ‘782 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘782 Patent against infringers, and to collect damages for all relevant times.

       12.     Acer made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Acer Chromebook,



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Acer Aspire, and Swift families of products that include 802.11ac and/or LTE capabilities

(“accused products”):




(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)




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(Source : https://www.acer.com/ac/en/US/content/series/aspirer15)




(Source : https://www.acer.com/ac/en/US/content/model/NX.GUHAA.002)




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(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)




(Source : https://www.acer.com/ac/en/US/content/series-features/aspirer15)




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(Source : https://www.acer.com/ac/en/US/content/series-features/aspirer15)




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         13.   By doing so, Acer has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 30 of the ‘782 Patent. Acer’s infringement in this regard is ongoing.

         14.   Acer has infringed the ‘782 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale systems utilizing a method for

synchronizing a Multi-Input Multi-Output (MIMO) Orthogonal Frequency Division

Multiplexing (OFDM) system in time and frequency domains.

         15.   The methods practiced by the accused products include producing a frame of data

comprising a training symbol that includes a synchronization component that aids in

synchronization, a plurality of data symbols, and a plurality of cyclic prefixes.

         16.   The methods practiced by the accused products include transmitting the frame

over a channel.

         17.   The methods practiced by the accused products include receiving the transmitted

frame.

         18.   The methods practiced by the accused products include demodulating the received

frame.

         19.   The methods practiced by the accused products include synchronizing the

received demodulated frame to the transmitted frame such that the data symbols are

synchronized in the time domain and frequency domain.




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(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)




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(Source:

https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150000p.p

df )

        20.     The methods practiced by the accused products include wherein the synchronizing

in the time domain comprises coarse time synchronizing and fine time synchronizing.

        21.     Acer has had knowledge of the ‘782 Patent at least as of the date when it was

notified of the filing of this action.

        22.     American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




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       23.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘782 Patent.

                                            COUNT II

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,310,304

       24.     On December 18, 2007, United States Patent No. 7,310,304 (“the ‘304 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Estimating Channel Parameters in Multi-Input, Multi-Output (MIMO) Systems.”

       25.     American Patents is the owner of the ‘304 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘304 Patent against infringers, and to collect damages for all relevant times.

       26.     Acer made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Acer Chromebook,

Acer Aspire, and Swift families of products that include 802.11ac and/or LTE capabilities

(“accused products”):




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(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)




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(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)




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       27.      By doing so, Acer has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘304 Patent. Acer’s infringement in this regard is ongoing.

       28.      Acer has infringed the ‘304 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an Orthogonal

Frequency Division Multiplexing (OFDM) transmitter.

       29.      The accused products include an encoder configured to process data to be

transmitted within an OFDM system, the encoder further configured to separate the data onto

one or more transmit diversity branches (TDBs).

       30.      The accused products include one or more OFDM modulators, each OFDM

modulator connected to a respective TDB, each OFDM modulator configured to produce a frame

including a plurality of data symbols, a training structure, and cyclic prefixes inserted among the

data symbols.

       31.      The accused products include one or more transmitting antennas in

communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel.




(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)

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(Source : https://www.acer.com/ac/en/US/content/series-features/aspirer15)




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(Source : https://www.acer.com/ac/en/US/content/series-features/aspirer15)




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(Source:

https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150000p.p

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        32.     The accused products include wherein the training structure of each frame

includes a predetermined signal transmission matrix at a respective sub-channel, each training

structure adjusted to have a substantially constant amplitude in a time domain, and the cyclic

prefixes are further inserted within the training symbol, and wherein the cyclic prefixes within

the training symbol are longer than the cyclic prefixes among the data symbols, thereby

countering an extended channel impulse response and improving synchronization performance.

        33.     Acer has had knowledge of the ‘304 Patent at least as of the date when it was

notified of the filing of this action.

        34.     American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        35.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘304 Patent.




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                                           COUNT III

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,706,458

       36.     On April 27, 2010, United States Patent No. 7,706,458 (“the ‘458 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       37.     American Patents is the owner of the ‘458 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘458 Patent against infringers, and to collect damages for all relevant times.

       38.     Acer made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Acer Chromebook,

Acer Aspire, and Swift families of products that include 802.11ac and/or LTE capabilities

(“accused products”):




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(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)




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(Source : https://www.acer.com/ac/en/US/content/series-features/aspirer15)




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       39.     By doing so, Acer has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘458 Patent. Acer’s infringement in this regard is ongoing.

       40.     Acer has infringed the ‘458 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an apparatus for

synchronizing a communication system.

       41.     The accused products include a number (Q) of Orthogonal Frequency Division

Multiplexing (OFDM) modulators, each OFDM modulator producing a frame having at least one

inserted symbol, a plurality of data symbols, and cyclic prefixes.

       42.     The accused products include Q transmitting antennas, each transmitting antenna

connected to a respective OFDM modulator, the transmitting antennas configured to transmit a

respective frame over a channel.




(Source: https://www.acer.com/ac/en/US/content/series/acerchromebook14)




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(Source:

https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150000p.p

df)

        43.     The accused products include a number (L) of receiving antennas for receiving

the transmitted frames.

        44.     The accused products include L OFDM demodulators, each OFDM demodulator

corresponding to a respective receiving antenna, the L OFDM demodulators including a

synchronization circuit that processes the received frame in order to synchronize the received

frame in both time domain and frequency domain, wherein each of the L OFDM demodulators

comprises a pre-amplifier, a local oscillator, a mixer having a first input and a second input, the

first input connected to an output of the pre-amplifier, the second input connected to an output of

the local oscillator, an analog-to-digital converter (ADC) connected to an output of the mixer, the

synchronization circuit having one input connected to an output of the ADC, a cyclic-prefix

remover connected to an output of the synchronization circuit, a serial-to-parallel converter

connected to an output of the cyclic prefix remover, and a discrete Fournier transform (DFT)

stage connected to an output of the serial-to-parallel converter, an output of the DFT stage

connected to another input to the synchronization circuit.

        45.     Acer has had knowledge of the ‘458 Patent at least as of the date when it was

notified of the filing of this action.

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       46.     American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       47.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘458 Patent.

                                            COUNT IV

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,373,655

       48.     On May 13, 2008, United States Patent No. 7,373,655 (“the ‘655 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “System For Securing Inbound And Outbound Data Packet Flow In A Computer

Network.”

       49.     American Patents is the owner of the ‘655 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘655 Patent against infringers, and to collect damages for all relevant times.

       50.     Acer made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems that allow for initiation and/or control of Internet

streamed content including, for example, its Iconia family of products (“accused products”):




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(Source: screenshot of user manual downloaded from

https://www.acer.com/ac/en/US/content/support-product/6190?b=1)

       51.     By doing so, Acer has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 5 of the ‘655 Patent. Acer’s infringement in this regard is ongoing.

       52.     Acer has infringed the ‘655 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale systems utilizing a method.

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       53.     The methods practiced by the accused products include arranging a network

element in a network, the network element being pre-authorized to access a set of network

resources.

       54.     The methods practiced by the accused products include receiving, at the network

element, a request from a user to connect to the network element.




(Source:

https://support.google.com/chromecast/answer/2998456?co=GENIE.Platform%3DAndroid&oco

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       55.     The methods practiced by the accused products include determining whether the

user is authorized to connect to the network element and, if so, allowing the user to assume the

identity of the network element.




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(Source: https://store.google.com/product/chromecast_2015)

        56.     The methods practiced by the accused products include accessing, by the user,

one of the set of network resources that the network element is pre-authorized to access, based

on the user’s assuming the identity of the network element.

        57.     Acer has had knowledge of the ‘655 Patent at least as of the date when it was

notified of the filing of this action.

        58.     American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        59.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘655 Patent.




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                                            COUNT V

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 7,934,090

       60.     On April 26, 2011, United States Patent No. 7,934,090 (“the ‘090 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “System For Securing Inbound And Outbound Data Packet Flow In A Computer

Network.”

       61.     American Patents is the owner of the ‘090 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘090 Patent against infringers, and to collect damages for all relevant times.

       62.     Acer made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems that allow for initiation and/or control of Internet

streamed content including, for example, its Iconia family of products (“accused products”):




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(Source: screenshot of user manual downloaded from

https://www.acer.com/ac/en/US/content/support-product/6190?b=1)

       63.     By doing so, Acer has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘090 Patent. Acer’s infringement in this regard is ongoing.




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       64.     Acer has infringed the ‘090 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale systems utilizing a method for

providing access to a network resource.

       65.     The methods practiced by the accused products include receiving, at a network

node that is pre-authorized to access the network resource, a request to allow a first user to

assume an identity of the network node, the network node that is pre-authorized having a

plurality of access privileges associated therewith.




(Source:

https://support.google.com/chromecast/answer/2998456?co=GENIE.Platform%3DAndroid&oco

=1)

       66.     The methods practiced by the accused products include allowing the first user to

assume the identity of the network node that is pre-authorized, such that the first user appears to




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the network resource to be the network node that is pre-authorized, after verifying that the first

user is authorized.




(Source: https://store.google.com/product/chromecast_2015)

        67.     The methods practiced by the accused products include, based on the first user

assuming the identity of the network node that is pre-authorized, allowing the first user to access

the network resource using the plurality of access privileges associated with the network node

that is pre-authorized.

        68.     Acer has had knowledge of the ‘090 Patent at least as of the date when it was

notified of the filing of this action.

        69.     American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




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       70.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘090 Patent.

                                           COUNT VI

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 6,004,049

       71.     On December 21, 1999, United States Patent No. 6,004,049 (“the ‘049 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Method And Apparatus For Dynamic Configuration Of An Input Device.”

       72.     American Patents is the owner of the ‘049 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘049 Patent against infringers, and to collect damages for all relevant times.

       73.     Acer made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems that include advanced keyboard layouts

including, for example, its Iconia family of products having predictive text and other advanced

keyboard layout capabilities (“accused products”):




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(Source: screenshot of user manual downloaded from

https://www.acer.com/ac/en/US/content/support-product/6190?b=1)

          74.   By doing so, Acer has directly infringed (literally and/or under the doctrine of

equivalents) at least Claims 1 and 10 of the ‘049 Patent. Acer’s infringement in this regard is

ongoing.

          75.   Acer has infringed the ‘049 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale systems utilizing a method of

configuring an input device for a data processing system, the input device having a set of display

elements capable of displaying symbols.

          76.   The methods practiced by the accused products include selecting an input device

layout.




                                                 40
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(Source: https://www.blog.google/products/search/express-yourself-GBoard-androids-newest-

features/)

       77.     The methods practiced by the accused products include determining whether the

selected input device layout is displayed.

       78.     The methods practiced by the accused products include determining a location of

the selected input device layout when it is determined that the selected input device layout is not

displayed.

       79.     The methods practiced by the accused products include retrieving the selected

input device layout.

       80.     The methods practiced by the accused products include displaying a set of

symbols on the display elements corresponding to the input device layout.




                                                41
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(Source: https://www.blog.google/products/search/express-yourself-GBoard-androids-newest-

features/)

       81.     Acer has infringed the ‘049 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale systems having an input device for

a data processing system, the input device having a set of display elements capable of displaying

symbols.

       82.     The accused products include a memory having program instructions to display

symbols on the input device.




                                                42
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(Source: https://www.blog.google/products/search/express-yourself-GBoard-androids-newest-

features/)

       83.     The accused products include a processor responsive to the program instructions

to select an input device layout, determine whether the selected input device layout is displayed,

determine a location of the selected input device layout when it is determined that the selected

input device layout is not displayed, retrieve the selected input device layout from a network, and

display a set of symbols on the display elements corresponding to the input device layout.




                                                43
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(Source: https://www.addictivetips.com/android/how-to-sync-your-dictionary-learned-words-

between-android-devices/)

        84.     Acer has had knowledge of the ‘049 Patent at least as of the date when it was

notified of the filing of this action.

        85.     American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        86.     American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘049 Patent.




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                                           COUNT VII

                DIRECT INFRINGEMENT OF U.S. PATENT NO. 6,301,626

       87.     On October 9, 2001, United States Patent No. 6,301,626 (“the ‘626 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “System For Dynamic Configuration Of An Input Device By Downloading An Input

Device From Server If The Layout Is Not Already Displayed On The Input Device.”

       88.     American Patents is the owner of the ‘626 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘626 Patent against infringers, and to collect damages for all relevant times.

       89.     Acer made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems that include advanced keyboard layouts

including, for example, its Iconia family of products having predictive text and other advanced

keyboard layout capabilities (“accused products”):




                                                 45
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(Source: screenshot of user manual downloaded from

https://www.acer.com/ac/en/US/content/support-product/6190?b=1)




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(Source: screenshot of user manual downloaded from

https://www.acer.com/ac/en/US/content/support-product/6190?b=1)

          90.   By doing so, Acer has directly infringed (literally and/or under the doctrine of

equivalents) at least Claims 1 and 8 of the ‘626 Patent. Acer’s infringement in this regard is

ongoing.

          91.   Acer has infringed the ‘626 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale systems utilizing a computer-

readable medium containing instructions for performing a method to configure an input device

having a set of display elements capable of displaying symbols.

          92.   The methods performed by the accused products include selecting an input device

layout.




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(Source: https://www.blog.google/products/search/express-yourself-GBoard-androids-newest-

features/)

       93.     The methods performed by the accused products include retrieving the input

device layout from a network, wherein the retrieving step further includes the steps of

determining if the identified input device layout is already displayed on the input device, and

downloading the identified input device layout over the network from a server having a plurality

of input device layouts based upon the determination, and displaying a set of symbols on the

display elements corresponding to the input device layout.




                                                48
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(Source: https://www.addictivetips.com/android/how-to-sync-your-dictionary-learned-words-

between-android-devices/)

       94.     Acer has infringed the ‘626 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale systems having a processor

designed to configure an input device having a set of display elements capable of displaying

symbols.

       95.     The accused products include means for identifying an input device layout.




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(Source: https://www.blog.google/products/search/express-yourself-GBoard-androids-newest-

features/)

       96.       The accused products include means for accessing the input device layout over a

network.

       97.       The accused products include means for determining if the identified input device

layout is already displayed on the input device.

       98.       The accused products include means for downloading the identified input device

layout over the network from a server having a plurality of input device layouts based upon the

determination.




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(Source: https://www.addictivetips.com/android/how-to-sync-your-dictionary-learned-words-

between-android-devices/)

        99.     The accused products include means for displaying a set of symbols on the

display elements corresponding to the input device layout.

        100.    Acer has had knowledge of the ‘626 Patent at least as of the date when it was

notified of the filing of this action.

        101.    American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        102.    American Patents and/or its predecessors-in-interest have satisfied all statutory

obligations required to collect pre-filing damages for the full period allowed by law for

infringement of the ‘626 Patent.

      ADDITIONAL ALLEGATIONS REGARDING INDIRECT INFRINGEMENT
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        103.    Acer has also indirectly infringed the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent by inducing others

to directly infringe the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, the ‘655 Patent, the ‘090

Patent, the ‘049 Patent, and the ‘626 Patent. Acer has induced the end-users, Acer’s customers,

to directly infringe (literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304

Patent, the ‘458 Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent by

using the accused products. Acer took active steps, directly and/or through contractual

relationships with others, with the specific intent to cause them to use the accused products in a

manner that infringes one or more claims of the patents-in-suit, including, for example, Claim 30

of the ‘782 Patent, Claim 1 of the ‘304 Patent, Claim 1 of the ‘458 Patent, Claim 5 of the ‘655

Patent, Claim 1 of the ‘090 Patent, Claims 1 and 10 of the ‘049 Patent, and Claims 1 and 8 of the

‘626 Patent. Such steps by Acer included, among other things, advising or directing customers

and end-users to use the accused products in an infringing manner; advertising and promoting the

use of the accused products in an infringing manner; and/or distributing instructions that guide

users to use the accused products in an infringing manner. Acer is performing these steps, which

constitute induced infringement, with the knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent and with the

knowledge that the induced acts constitute infringement. Acer was and is aware that the normal

and customary use of the accused products by Acer’s customers would infringe the ‘782 Patent,

the ‘304 Patent, the ‘458 Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626

Patent. Acer’s inducement is ongoing.

        104.    Acer has also induced its affiliates, or third-party manufacturers, shippers,

distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe



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(literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent by importing,

selling or offering to sell the accused products. Acer took active steps, directly and/or through

contractual relationships with others, with the specific intent to cause such persons to import,

sell, or offer to sell the accused products in a manner that infringes one or more claims of the

patents-in-suit, including, for example, Claim 30 of the ‘782 Patent, Claim 1 of the ‘304 Patent,

Claim 1 of the ‘458 Patent, Claim 5 of the ‘655 Patent, Claim 1 of the ‘090 Patent, Claims 1 and

10 of the ‘049 Patent, and Claims 1 and 8 of the ‘626 Patent. Such steps by Acer included,

among other things, making or selling the accused products outside of the United States for

importation into or sale in the United States, or knowing that such importation or sale would

occur; and directing, facilitating, or influencing its affiliates, or third-party manufacturers,

shippers, distributors, retailers, or other persons acting on its or their behalf, to import, sell, or

offer to sell the accused products in an infringing manner. Acer performed these steps, which

constitute induced infringement, with the knowledge of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent and with the

knowledge that the induced acts would constitute infringement. Acer performed such steps in

order to profit from the eventual sale of the accused products in the United States. Acer’s

inducement is ongoing.

        105.    Acer has also indirectly infringed by contributing to the infringement of the ‘782

Patent, the ‘304 Patent, the ‘458 Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the

‘626 Patent. Acer has contributed to the direct infringement of the ‘782 Patent, the ‘304 Patent,

the ‘458 Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent by the end-

user of the accused products. The accused products have special features that are specially



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designed to be used in an infringing way and that have no substantial uses other than ones that

infringe the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, the ‘655 Patent, the ‘090 Patent, the

‘049 Patent, and the ‘626 Patent, including, for example, Claim 30 of the ‘782 Patent, Claim 1 of

the ‘304 Patent, Claim 1 of the ‘458 Patent, Claim 5 of the ‘655 Patent, Claim 1 of the ‘090

Patent, Claims 1 and 10 of the ‘049 Patent, and Claims 1 and 8 of the ‘626 Patent. The special

features include improved wireless communication capabilities, initiation and/or control of

Internet streamed content, and advanced keyboard layout capabilities in a manner that infringes

the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, the ‘655 Patent, the ‘090 Patent, the ‘049

Patent, and the ‘626 Patent. The special features constitute a material part of the invention of one

or more of the claims of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, the ‘655 Patent, the

‘090 Patent, the ‘049 Patent, and the ‘626 Patent and are not staple articles of commerce suitable

for substantial non-infringing use. Acer’s contributory infringement is ongoing.

       106.    Furthermore, Acer has a policy or practice of not reviewing the patents of others

(including instructing its employees to not review the patents of others), and thus has been

willfully blind of American Patents’ patent rights.

       107.    Acer’s actions are at least objectively reckless as to the risk of infringing valid

patents and this objective risk was either known or should have been known by Acer.

       108.    Acer’s direct and indirect infringement of the ‘782 Patent, the ‘304 Patent, the

‘458 Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent is, has been,

and continues to be willful, intentional, deliberate, and/or in conscious disregard of American

Patents’ rights under the patents.

       109.    American Patents has been damaged as a result of the infringing conduct by Acer

alleged above. Thus, Acer is liable to American Patents in an amount that adequately



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compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

       American Patents hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

       American Patents requests that the Court find in its favor and against Acer, and that the

Court grant American Patents the following relief:

       a.      Judgment that one or more claims of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent have been infringed,

either literally and/or under the doctrine of equivalents, by Acer and/or all others acting in

concert therewith;

       b.      A permanent injunction enjoining Acer and its officers, directors, agents, servants,

affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in concert

therewith from infringement of the ‘782 Patent, the ‘304 Patent, the ‘458 Patent, the ‘655 Patent,

the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent; or, in the alternative, an award of a

reasonable ongoing royalty for future infringement of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, the ‘655 Patent, the ‘090 Patent, the ‘049 Patent, and the ‘626 Patent by such entities;

       c.      Judgment that Acer account for and pay to American Patents all damages to and

costs incurred by American Patents because of Acer’s infringing activities and other conduct

complained of herein, including an award of all increased damages to which American Patents is

entitled under 35 U.S.C. § 284;

       d.      That American Patents be granted pre-judgment and post-judgment interest on the

damages caused by Acer’s infringing activities and other conduct complained of herein;



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       e.     That this Court declare this an exceptional case and award American Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.     That American Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: October 4, 2018                      Respectfully submitted,

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                                  Attorneys for American Patents LLC




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